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                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                   ***
                 7    CLEANGO GREENGO, INC.,                                Case No. 2:20-CV-1334 JCM (NJK)
                 8                                          Plaintiff(s),                     ORDER
                 9           v.
               10     UNITED STATES PATENT AND
                      TRADEMARK OFFICE,
               11
                                                         Defendant(s).
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                             Presently before the court is the matter of Cleango Greengo, Inc. v. United States Patent
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                      and Trademark Office, case number 2:20-cv-01334-JCM-NJK. Plaintiff Cleango Greengo, Inc.
               15
                      filed the instant action on July 23, 2020, against defendant United States Patent and Trademark
               16
                      Office. (ECF No. 1).
               17
                             Federal Rule of Civil Procedure 4(m) provides as follows:
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               19                    If a defendant is not served within 90 days after the complaint is
                                     filed, the court—on motion or on its own after notice to the
               20                    plaintiff—must dismiss the action without prejudice against that
                                     defendant or order that service be made within a specified time.
               21                    But if the plaintiff shows good cause for the failure, the court must
                                     extend the time for service for an appropriate period. This
               22                    subdivision (m) does not apply to service in a foreign country
                                     under Rule 4(f), 4(h)(2), or 4(j)(1), or to service of a notice under
               23                    Rule 71.1(d)(3)(A).

               24     Fed. R. Civ. P. 4(m).
               25            More than 90 days have elapsed since the instant action was filed. To date, plaintiff has
               26     not served the defendant.
               27
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James C. Mahan
U.S. District Judge
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                1            On October 26, 2020, the court gave plaintiff notice of its intent to dismiss her claims
                2     pursuant to Fed. R. Civ. P. 4(m). Plaintiff has not responded, served the defendant, or otherwise
                3     appeared.
                4            Accordingly,
                5            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiff’s claims be, and
                6     the same hereby are, DISMISSED.
                7            The clerk is instructed to close the case accordingly.
                8            DATED November 6, 2020.
                9                                                  __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
